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                        UNITED STATES DISTRICT COURT
                        SO UTHERN DISTRICT O F FLO RIDA
                           CASE NO .10-20800-CR-KING

UNITED STATES O F AM ERICA,

            Plaintil,

V.

DERRICK HARRELL,

            Defendant.
                                I

                         REPO RT AND RECOM M ENDATIO N

      O n oraboutDecem ber28,2011,coud-appointed defense counselW illiam Barzee

(''CounseI'')submitted a voucherapplication numbered FLS 10 4716 with appended time
sheetsrequesting $21,523.05asfinalpaymentforattorney'sfeesandcostspursuanttothe
CriminalJusticeAct(the'.CJA'').Counselalsosubmitteda Ietterdated December28,2011
in suppod ofhis voucherapplication.

      Counselrepresented DefendantDerrickHarrell('
                                                 tDefendant'')forthideenmonthsfrom
hisappointm entonApril6,2011untilOctober3l,2011and seekscom pensationforthistime

inthevoucherapplication.Counselseeks $21,523,05 in his application,an amountwhich
exceedsthe $9,700.00 statutorymaxim um allowed forrepresentation in non-capitalfelony
cases underthe CJA.As a result,United States DistrictCoud Judge Jam es Lawrence King

entered an Order of Reference IDE # 1991 referring the voucher application to the
undersigned fora Repodand Recom m endationastowhetherthefees requested bycounsel

are appropriate.See 28 U.S.C.j 636(a),
                                     'see also United States District Coud forthe
Southern DistrictofFlorida M agistrate Judge Rules.
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                Crim inalJustice Actand G uidelines forAdm inistering
                               the Crim inalJustice Act

      The United StatesJudicialConference developedthe G uidelinesforAdm inisteringthe

CJA and Related Statutes (the 'lGuidelines'')to assistcourts in the application ofthe
provisions ofthe CJA. See In re Burger,498 U.S.233,234,111S.Ct.628 (1991). Inthe
Guidelines,judgesare 'urgedtocompensatecounselatarateandinanamountsufficient
tocoverappointed counsel'sgeneraloffice overhead and to ensure adequate com pensation

forrepresentation provided.' See Section5630.20 ofthe Guidelines.
      The CJA at 18 U.S.C.j3006A(d)(1) provides that at the conclusion of CJA
representation,an appointed attorney shallbe com pensated fortime expended in courtand

for tim e d'reasonably expended out of courf'and shall be reim bursed ''for expenses

reasonably incurred.'' The districtcoud,as the body em powered to ''fix''CJA appointed

counselcom pensation,has the statutory authority and discretion to determ ine what is a

reasonable expense ora reasonable use ofbillable time.18 U.S.C.j3006A(d)(5);U.S.B.
Gr/ggs,240 F.3d 974 (11thcir.2001).Inorderforthe recommended fee amountto exceed
the statutory m axim um ,however,the districtcourtm ustfirstcedify thatthe case involves

t'complex''or''extended'
                       'representation.18U.S.C.j3006A(d)(3).Second,thedistrictcourt
m ustconclude thatthe am ountis necessary to provide Counselwith faircom pensation.

      A case m ay be considered 'com plex''ifthe Iegalorfactualissues in a case are

unusual,thus requiring the expenditure ofm ore tim e,skilland effod bythe Iawyerthan would

normallybe required in an average case. See Section 5230.23.404b)ofthe Guidelines.A
case m ay be considered S'extended''ifm ore time is reasonably required fortotalprocessing

than the average case,including pre-trialand post-trialhearings./d.
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                                     DISCUSSIO N

                               This Case W as Com plex

      Underthe Guidelines,in orderto approve a requestforcom pensation inexcessofthe

statutory m axim um ,Im ustfirstfind thatthe representation was eithercom plexorextended.

This case was com plex fortwo reasons.

      First,the very nature and num berofcharges involved in this case required Counsel

to expend more tim e,skilland effortthan norm ally required in the average case. This case

originallycommenced bywayofa criminalCom plaintIDE # 11.Thereafter,the grand jury
returned an IndictmentIDE # 421againstDefendantin November2010.
      In July2011,the grandjury returned a Superseding lndictmentIDE # 1271charging
Defendantand one codefendantw i
                              th severalviolentcrim es. In Count 1,Defendantwas

charged withconspiracyto commitaHobbsActrobberyinviolation of18 U.S.C.j 1951(a).
In Counts VIIand VlII,Defendantwas charged with Hobbs Actrobbery in violation of 18

U.S.C.j 1951(a)and 2.In CountsVIland IX,Defendantwascharged with possession of
afirearm infudheranceofacrime ofviolence inviolation of18U.S.C.j924(c)(1)(A)(ii)and


      Defendantfaced a separate m axim um term oftwenty years im prisonm entforeach

ofthe follow ing Counts:1,V I,and VIII.Defendantfaced aterm ofIife im prisonmenton each

ofthe two firearm possession charges.

      O n the day oftrial,Defendantentered a plea ofguil
                                                       ty to Counts 1,VI,VIIand VIIIof

the Superseding Indictment Isee DE # 1731. He was sentencedto a term oftwentyyears
imprisonmentas to Counts 1,VIand VIII,withthe sentencesto run concurrently. Isee DE

                                           -   3-
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# 1831. He was also sentenced to aterm offive yearsimprisonmentasto CountVII.(See
DE # 1831.Thissentencewasto runconsecutiveto Counts 1,VIandVIII.(See DE # 1831.
      Second,there was a trem endous am ountofdiscovery in this case. d'Discovery was

volum inous and required num erous amounts ofhoursto review and organize aIIthe m aterial

provided bythe G overnm ent. There were hundreds ofdocum ents and hours ofaudio and

video recording,over13 CD'sthatneeded to be processedl.) (Slome discoverywas even
provided just)weeksbeforetrial.' (December28,2011letter).
      Third,Defendantonlydecided to entera guilty plea on the day oftrial.Consequently,

Counselwas required to fully prepare forthe jurytrial. Counselhad to fully review the
discovery and prepare forthe testim ony ofw itnesses and Iaw enforcem entagents. As a

result,Counselw as required to expend a Iargernum berofhours than normally generated

in the average case w hich resul
                               ts in a guilty plea.

      Fourth,Defendant's m entalcom petencywasa significantissue in thiscase.Counsel

wrotethat''Iiltwasnecessarytohavethe Defendantpsychologicallyevaluated.'(December
28,2011 letter). Counselalso had to d'research the issues involved with IDefendant's)
competencyIevel.''(Decem ber28,2011letter).ThissignificantIegalissue requiredCounsel
to expend m ore tim e conducting research than in the average case.

      Itis clearfrom the record thatthe Iegaland factualissues in this case were unusual.

Consequently,lconclude thatthis m atterrequired the expenditure ofm ore tim e,skilland

effod by Counselthan would normally be required in the average case.As Ihave concluded

thatthe representation provided by Counselwas com plex,Im ustnow review the voucherto

determ ine the appropriate am ountforwhich Counselshould be com pensated in excess of


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the $9,700.00 statutory maximum.
                      VoucherAm ount-Adm inistrator's Review

      The Court's CJA adm inistratorfirst reviewed the voucherforcom pliance with the

G uidelinesand m athem aticalaccuracypriorto my review .Counselrequested com pensation

for15.5 in-courthourstotaling $1,937.50.
      The CJA adm inistratoralso reviewed the 156.5out-of-courthourssoughtby Counsel.

Counselsoughtcom pensation for35 hours for''Interviews and conferences'
                                                                      'and 112.50

hours forS'O btaining and review ing records.'' Counselalso soughtcom pensation for9.0

hoursford
        'Legalresearch and briefwriting.''Counselsought$85.55 in ''OtherExpenses.''
                                   In-courtHoursl

      Counselsoughtcom pensation for15.5 in-courthourstotaling $1,937.50.The CJA
adm inistrator made no changes to eitherthe totalnum berof in-coud hours orthe total

amountofcompensation soughtforthistime. Iapprove $1,937.50 asreasonable.
                                  O ut-of-courtHours

      ln the voucher,Counselsoughtcom pensation for156.5out-of-coud hours.The CJA

adm inistratorreviewed the voucherand m ade one change to the num berofout-of-coud

hours claim ed by Counsel. The CJA adm inistratorslightly decreased the num berofhours

for''Obtaining and reviewing records'to 112 hours (from 112.5 hours). This resulted in a
smallreduction in the totalam ountofout-of-coud hours to 156 hours. This also resulted in

a smalldecrease forthe totalamountCounselsoughtforout-of-courthoursto$19,500.00


        The undersigned defers to the CourtClerk to verify aIlin-courttim e and expense
  allowances.
                                           -   5-
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(from $19,562.50).
      Although the majority ofCounsel's time entries are appropriate,Counselincluded
some entries forclericalm atters which are noteligible for reim bursem entunderthe CJA .

Counselbilled numerous entries (of0.1 hour)fordrafting and faxing basic Ietters to the
FederalDetention Centerregarding Iegalvisits. The entries were on the following dates:

10/26/2010,11/1/2010,11/12/2010,12/10/2010,1/4/2011,1/14/2011,1/26/20112, 1/31/2011,

2/11/2011,2/29/2011,3/11/2011,6/29/20113,7/11/2011 and 11/4/2011        .




      l recom m end that the above entries be elim inated because these entries reflect

clericalduties that are notcompensable. The Guidelines make clearthat'Eelxceptin
extraordinary circum stances,w hetherwork is perform ed by counselorotherpersonnel,the

followingexpensesassociatedw ith CJA representationare notreim bursable:personnel'
                                                                                 ,rent;

telephone service'
                 , and secretarial.' Section j230.66.10(b) of the Guidelines. The
''SupplementalInstructions for Completing CJA20 Vouchers'
                                                        'form (the S
                                                                   'Supplemental
Instructions'') provided by the Courtreinforces the Guidelines:'Icllericalwork (copying,
faxing,mailing,etc.)associated with CJA representation,whetherwork is performed by
counselorotherpersonnel,is notreim bursable.'' Accordingly,Irecom m end thatCounsel

should notbe com pensated forthe above Iisted entries.This resul
                                                               ts in a totalreduction of

$200.00.


          Counselbilled 0.3 hours for''prepare and fax form s forfam ily visitto FDC.''The
  CJA Adm inistratorreduced this entry to 0.2 hours. Irecom m end thatthis entry be
  elim inated,however,because itwas a clericaltaskthatis notcom pensable underthe
  CJA.
         3
         Counselbilled 0.2 hours for'A pplication forParalegalforFDC visi
                                                                        t.''
                                           -   6-
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       Sim ilarly,Counselincluded an entry for''Establish file,review Docket-Com plaint,

Petitions,W rits'',seeking 1.0 houras com pensation.Establishing afile is a clericaltaskthat

is notcom pensable underthe CJA. Accordingly,itis properto deduct0.2 from this entry

which resul
          ts ina reduction of$25.00 from the voucher.
       Anotherproblem aticentrywasa0.2 hourentryforuReview and PostDatesfrom Order

G ranting Continuance''on 8/9/2011.Counselbilled 0.2 hourforthisentry.Posting dateson

calendarsare adm inistrative issuesandare notcom pbnsable.Accordingl
                                                                   y,thisentryshould

be reduced to 0.1 hourforthistask.This results in a reduction of$12.50.
       There are othertroublesom e entries in the voucher.Specifically,lrecom m end that

the tim e Iisted forthe follow ing entries be elim inated:

              10/25/2010 M eeting with Fam ily                      1.5 hours

              1/11/2011      Telephone Conference with Fam ily      0.3 hours

              1/14/2011      M eeting with Fam ily                  2.0 hours

              1/21/2011      Telephone Conference with Fam ily      0.2 hours

              3/11/2011 Telephone Conferences(2)with                0.4 hours
                             Client's Sister


       Irecom m end thatthe above entries be elim inated because these entries represent

tim e spentw ith Defendant's fam ily thatis notcom pensable.The Supplem entalInstructions

make clearthat''lslervices ofa personalnature,such as assisting the defendantin the
dispositionofhis/herpersonalproperty,orproviding Iegalassistance in m atters unrelated to

the Iitigation of the case even though incidental to the defendant's arrest, are not

com pensable.'' The time spentm eeting and conversing with Defendant's fam ily mem bers
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to keep them inform ed about developm ents in the case is ''hand holding''that is not

com pensable underthe CJA because itis nottime whichcontributedto Defendant'sdefense    .




      Counselalso included otherentries thatare notsufficiently detailed to com portwith

the requirem ents prescribed in the Supplementallnstructions:

             12/9/2010    Telephone Conference with ASA           0.2 hours

             1/11/2011    Telephone Conference with AUSA          0.3 hours

      TheSupplementallnstructionsmake clearthat''Etlelephoneconferencesinexcessof
one tenth (0.1)hourrequire notation ofreason forduration,and parties to conversation
identified.' Although Counselidentified the parties to the conversations,Counselfailed to

explain the reason for the duration of these telephone conferences. Accordingly, I

recom mend thateach ofthese entries be reduced to 0.1 hour.

      Finally,Counsel included two entries for review ing basic orders that should be

reduced.On Decem ber17,2010,Counselbilled 0.2 hoursforreview ing an d'O rderReferring

case to Judge forG uil
                     ty Plea and O rderofSentencing ofCo-DefendantLee.' The orders

were sim ple,consisting of one substantive page each. Sim ilarly,on January 11,2011,

Counselbilled 0.2 hoursforreviewing an ''O rderReferring Case to Judge forGuilty Plea and

O rderofSentencing ofCo-DefendantDantzle.''Again,these orderswere simple and did not

require Counselto expend 0.2 hours reviewing the docum ents. Itherefore recomm end that

Counselbe com pensated only 0.1 hourforeach ofthese two entries.

      Ifind,however,thatthe rem aining out-of-courthours Iisted in the voucherapplication

are appropriate. Factoring in m y deductions,lrecom m end thatCounselshould be paid

$18,512.50forhisout-of-coud hours.


                                           -
                                               8-
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                                       Expenses

       Counselsought$85.55 in d
                              'OtherExpenses.'' The CJA administratormade no
correction to this amount. Ihereby approve the $85.55 in ''OtherExpenses ''               .




                                     CONCLUSION

       Icom m end Counselforhis professionalism and willingnessto take this appointm ent'
                                                                                        ,


the undersigned is appreciative ofhis effodsin thiscase. As Iexplained above,because the

representation in this case was com plex,lrecom m end thatCounselbe reim bursed foran

amountin excess ofthe statutorymaxim um of$9,700.00.
       Based upon my review ofthe tim e sheets,the M otion, the docketand filings in this

case,IRECOMMEND thatCounselbe paid $20,535,55 asfairand finalcompensationfor
his work in this case.

      In accordance with 28 U.S.C.j636(b)(1),the padiesshallhave foudeen (14)days
from receiptofthisReportandRecommendationtoserve andfileanywrittenobjections with
the Honorable Jam es Law rence King ,United States DistrictJudge.


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                                       signed this -$y.e'y day                    M arch, 012.
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                                       PETER R.PALERM O
                                       SR.UNITED STATES MAG ISTRATE JUDG E
Copies furnished to:

      W illiam R.Barzee,Esq.
      Lucy Lara,CJA adm inistrator



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